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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


E & G, INC.,

                              Plaintiff,

v.                                                    CIVIL ACTION NO. 2:17-cv-02774

SEMACONNECT INC., et al.,

                              Defendants.


                                     DISMISSAL ORDER


       The parties have stipulated to the dismissal of all claims and causes of action in this matter

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). (ECF No. 53.) Accordingly, the

Court DISMISSES WITH PREJUDICE this action as to the individual claims of E&G, INC.

only and DISMISSES WITHOUT PREJUDICE as to the members of the putative class, each

side to bear its own costs. The Court further DIRECTS the Clerk to remove this matter from the

Court’s docket.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                              ENTER:         September 10, 2018
